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SANTANDER	CONSUMER	USA	
P.O.	BOX	961240	
FORT	WORTH,	TX	76161	

TOYOTA	FINANCIAL	SERVICES	
P.O.	BOX	9786	
CEDAR	RAPIDS,	IA	52409	

CREDIT	ONE	BANK	
P.O.	BOX	98875	
LAS	VEGAS,	NV	89193	

FIREST	PREMIER	BANK	
601	S.	MINNESOTA	AVE.	
SIOUX	FALLS,	SD	57104	

DUVERA	BILLING	SERVICE	
1959	PALOMAR	OAKS	WAY	
CARLSBAD,	CA	92008	

TRIDENT	ASSET	MANAGEMENT	
P.O.	BOX	888424	
ATLANTA,	GA	30856	

OLIVE	VIEW	EMP	FEDERAL	CREDIT	UNION	
14445	OLIVE	VIEW	DRIVE	
SYLMAR,	CA	91342	

PROGRESSIVE	LEASING	
256	W.	DATA	DRIVE	
DRAPER,	UT	84060	
